             Case 1:21-cv-00500-CJN Document 90 Filed 03/08/24 Page 1 of 6




                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA


 LUZ DEL CARMEN SALAMA-TOBAR, et al.,

                  Plaintiffs,

         v.                                                Civil Action No. 21-0500 (CJN)

 DISTRICT OF COLUMBIA, et al.,

                  Defendants.


      STIPULATION FOR COMPROMISE SETTLEMENT AND RELEASE OF
     FEDERAL TORT CLAIMS ACT CLAIMS PURSUANT TO 28 U.S.C. § 2677
                  (LUZ DEL CARMEN SALAMA-TOBAR)

        Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff Luz Del Carmen

Salama-Tobar, Electra Bolotas, and Daphne Bolotas, and the United States of America (the



terms set forth in this Stipulation.

        1.       The parties do hereby agree to settle and compromise each and every claim of any

kind, whether known or unknown, arising directly or indirectly from the acts or omissions that

gave rise to this civil action under the terms and conditions set forth in this Stipulation.

Notwithstanding any possible suggestion herein to the contrary, this Stipulation expressly does not

resolve any claims Plaintiffs may have against the District of Columbia, Peter Newsham, Jeffrey

Carroll, Robert Glover, Andrew Horos, Jason Bagshaw, Daniel Thau, Anthony Alioto, Gregory

Rock, James Crisman, Nicholas Imbrenda, and Metropolitan Police Department



claims are specifically preserved.
            Case 1:21-cv-00500-CJN Document 90 Filed 03/08/24 Page 2 of 6




       2.       The United States agrees to pay the sum of $750,000.00

which sum shall be in full settlement and satisfaction of any and all claims, demands, rights, and

causes of action of whatsoever kind and nature, arising from, and by reason of any and all known

and unknown, foreseen and unforeseen bodily and personal injuries, damage to property and the

consequences thereof, resulting directly or indirectly from the subject matter of this civil action,

including any claims for wrongful death, for which Plaintiffs or Plaintiffs

executors, administrators, or assigns, and each of them, now have or may hereafter acquire against

the United States, its agents, servants, and employees. That sum is broken down by Plaintiff as

follows: $550,000 for Luz Del Carmen Salama-Tobar (i.e., this agreement); $50,000 for Electra

Bolotas; and $150,000 for Daphne Bolotas.

       3.       Plaintiffs acknowledge that the Debt Collection Improvement Act of 1996, as

codified at 31 U.S.C. § 3716 and administered through the Treasury Offset Program, requires the

United States Treasury to offset federal payments to collect certain delinquent debts owed by a

payee to the United States, a United States agency, or a state (including delinquent child-support

obligations enforced by the states). Accordingly, Plaintiffs acknowledge that the amount to be

remitted to Plaintiffs under this settlement agreement may be reduced by the amount of any such

delinquent debt that the United States Treasury is permitted to collect through that program or any

other similar offset or recoupment program or source of law.

       4.       Plaintiffs and Plaintiffs

hereby agree to accept the sums set forth in this Stipulation in full settlement, satisfaction, and

release of any and all claims, demands, rights, and causes of action of whatsoever kind and nature,

including claims for wrongful death, arising from, and by reason of any and all known and

unknown, foreseen and unforeseen bodily and personal injuries, damage to property and the




                                                -2-
             Case 1:21-cv-00500-CJN Document 90 Filed 03/08/24 Page 3 of 6




consequences thereof which they may have or hereafter acquire against the United States of

America, its agents, servants and employees on account of the subject matter that gave rise to the

above-captioned action, including any future claim or lawsuit of any kind or type whatsoever,

whether known or unknown, and whether for compensatory or exemplary damages. Plaintiffs and

Plaintiffs

indemnify and hold harmless the United States, its agents, servants, and employees from and

against any and all such causes of action, claims, liens, rights, or subrogated or contribution

interests incident to or resulting from further litigation or the prosecution of claims by Plaintiffs or

Plaintiffs

the United States, including claims for wrongful death.

        5.       This Stipulation is not, is in no way intended to be, and should not be construed as,

an admission of liability or fault on the part of the United States, its agents, servants, or employees,

and it is specifically denied that they are liable to Plaintiffs. This settlement is entered into by all

parties for the purpose of compromising disputed claims under the Federal Tort Claims Act and

avoiding the expenses and risks of further litigation.

        6.       Each will bear its own costs, fees, and expenses. Plaintiffs agree that any attorney

fees owed by Plaintiffs will be paid from the Settlement Amount and not in addition thereto.

        7.       It is also understood by and among the parties that pursuant to Title 28, United

States Code, Section 2678, attorney fees for services rendered in connection with this action shall

not exceed 25 per centum of the amount of the Settlement Amount.

        8.       The persons signing this Stipulation warrant and represent that they possess full

authority to bind the persons on whose behalf they are signing to the terms of the settlement.




                                                 -3-
            Case 1:21-cv-00500-CJN Document 90 Filed 03/08/24 Page 4 of 6




       9.       In the event any plaintiff is a minor or a legally incompetent adult, Plaintiff must

                                                                              s agree to obtain such

approval in a timely manner: time being of the essence. Plaintiffs further agree that the United

States may void this settlement at its option in the event such approval is not obtained in a timely

manner. In the event Plaintiffs fail to obtain such Court approval, this entire Stipulation, and the

compromise settlement set forth herein, is null and void.

       10.      Payment of the Settlement Amount will be made by electronic means as per

instructions provided by Plaintiffs

payment is made to an account controlled by Plaintiffs                          s

distribute the Settlement Amount, less any attorney fees, to Plaintiffs.

       11.      The parties agree that this Stipulation, including all the terms and conditions of this

compromise settlement and any additional agreements relating thereto, may be made public in

their entirety, and Plaintiffs expressly consents to such release and disclosure pursuant to the

Privacy Act, 5 U.S.C. § 552a(b), and the Freedom of Information Act.

       12.      This Stipulation may be executed in counterparts. All such counterparts and

signature pages, together, shall be deemed to be one document.

       13.      The filing of this Stipulation with the Court shall effect a dismissal of this action

with prejudice against Defendants United States of America, United States Park Police, Sheldon

Thorpe, Wayne Humberson, Jared Tyng, Daniel Glendenning, Pedro Rancier, and Andrew Lauro,

with each party to pay their own costs and fees as set forth herein.




                                                 -4-
           Case 1:21-cv-00500-CJN Document 90 Filed 03/08/24 Page 5 of 6




FOR THE UNITED STATES OF AMERICA:

MATTHEW M. GRAVES, D.C. Bar #481052
United States Attorney

BRIAN P. HUDAK
Chief, Civil Division


By:      /s/ Douglas C. Dreier         Mar. 1, 2024
      DOUGLAS C. DREIER                       Date
      Assistant United States Attorney
      601 D Street, NW
      Washington, DC 20530
      (202) 252-2551

Attorneys for the United States of America

FOR DANIEL GLENDENNING, WAYNE HUMBERSON, ANDREW LAURO, PEDRO
RANCIER, SHELDON THORPE, AND JARED TYNG:

/s/ Christopher J. Keeven
Christopher J. Keeven, D.C. Bar #993971
Debra L. Roth, D.C. Bar #422452
1101 Connecticut Avenue NW, Suite 1000
Washington, DC 20036
Tel: 202-463-8400
Fax:202-833-8082
ckeeven@shawbransford.com
droth@shawbransford.com

FOR PLAINTIFFS:



LUZ DEL CARMEN SALAMA-TOBAR                  Date
Plaintiff



NICHOLAS G. MADIOU                           Date
Counsel for Plaintiff




                                               -5-
Case 1:21-cv-00500-CJN Document 90 Filed 03/08/24 Page 6 of 6
